               Case 2:20-cv-01830-JCC Document 13 Filed 02/22/21 Page 1 of 5



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7        UNITED STATE DISTRICT COURT WESTERN DISTRICT OF WASHINGTON AT
                                    SEATTLE
8
     JORDAN EL-TAHEL,                                    ) Case No.: 2:20-CV-01830-JCC
9                                                        )
                     Plaintiff,                          ) DEFENDANT MILLER’S ANSWER
10                                                       ) TO COMPLAINT
             vs.                                         )
11                                                       )
     WHATCOM COUNTY, a governmental entity,              )
12                                                       )
     WHATCOM COUNTY SHERIFF’S
     DEPARTMENT, BILL ELFO and ADAM                      )
13                                                       )
     MILLER, and the marital community
14
                     Defendant.
15

16
     TO: JORDAN EL-TAHEL
17
     AND TO: EMILY BESCHEN AND ROBERT BUTLER, BUTLER BESCHEN LAW PLLC, E.
18

19
     Holly St. Suite 512, Bellingham WA 98225, attorneys for Plaintiff

20   AND TO: GEORGE ROCHE, Whatcom County Prosecuting Attorney 311 Grand Ave Suite

21   201, Bellingham WA 98225, attorney for Whatcom County, Whatcom County Sheriff’s Office

22   and Bill Elfo

23           COMES NOW, Adam Miller by and through the Law Office of Douglas Wilson, hereby
24   answers Plaintiff’s Complaint:
25
        1.   Admit
     ANSWER TO COMPLAINT 2:20-CV-01830 - 1                LAW OFFICE OF DOUGLAS E. WILSON
                                                                   Douglas E. Wilson
                                                                    P.O. Box 15631
                                                                   Seattle WA 98115
                                                                    (206) 338-7806
              Case 2:20-cv-01830-JCC Document 13 Filed 02/22/21 Page 2 of 5



1       2. Admit
2       3. Defendant Miller is without sufficient information to admit or deny and therefor denies
3
           the same.
4
        4. Defendant Miller admits that he was employed by Whatcom County between February
5
           27, 2017 and February 20, 2019.
6
        5. Admit
7
        6. Admit
8
        7. Defendant Miller admits that he was employed by Whatcom County between February
9

10
           27, 2017 and February 20, 2019.

11      8. Defendant Miller asserts his rights under the 5th Amendment to the U.S. Constitution and

12         neither admits nor denies.

13      9. Allegation is directed to Defendant Whatcom County and calls for a legal conclusion.

14      10. Defendant Miller asserts his rights under the 5th Amendment to the U.S. Constitution and
15         neither admits nor denies.
16
        11. Defendant Miller admits that Plaintiff returned to custody in the fall of 2018 while he was
17
           working at the facility. The remainder is denied.
18
        12. Miller denies that he had complete control over the Plaintiff. Defendant Miller asserts
19
           his rights under the 5th Amendment to the U.S. Constitution and neither admits nor denies
20
           the remaining allegations
21
        13. Defendant Miller asserts his rights under the 5th Amendment to the U.S. Constitution and
22

23         neither admits nor denies.

24      14. Allegations are directed to the County. The extent allegations are directed to Defendant

25         Mller, Defendant Miller

     ANSWER TO COMPLAINT 2:20-CV-01830 - 2                  LAW OFFICE OF DOUGLAS E. WILSON
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              Case 2:20-cv-01830-JCC Document 13 Filed 02/22/21 Page 3 of 5



1       15. Defendant Miller asserts his rights under the 5th Amendment to the U.S. Constitution and
2          neither admits nor denies.
3
        16. Defendant Miller asserts his rights under the 5th Amendment to the U.S. Constitution and
4
           neither admits nor denies.
5
        17. Defendant Miller asserts his rights under the 5th Amendment to the U.S. Constitution and
6
           neither admits nor denies.
7
        18. Allegations are directed to employees of Whatcom County and not Defendant Miller. To
8
           the extent there are allegations against Defendant Miller, Defendant Miller asserts his
9

10
           rights under the 5th Amendment to the U.S. Constitution and neither admits nor denies..

11      19. Allegations are directed to Defendant Whatcom County and not Defendant Miller. To

12         the extent there are allegations against Defendant Miller, Defendant Miller asserts his

13         rights under the 5th Amendment to the U.S. Constitution and neither admits nor denies.

14      20. Allegations are directed to Defendant, Whatcom County and not Defendant, Miller. To
15         the extent there are allegations against Defendant Miller, Defendant Miller asserts his
16
           rights under the 5th Amendment to the U.S. Constitution and neither admits nor denies.
17
        21. Allegations are directed to Defendant, Whatcom County and not Defendant, Miller. To
18
           the extent there are allegations against Defendant Miller, Defendant Miller asserts his
19
           rights under the 5th Amendment to the U.S. Constitution and neither admits nor denies.
20
        22. Defendant Miller asserts his rights under the 5th Amendment to the U.S. Constitution and
21
           neither admits nor denies.
22

23      23. Paragraph 23 does not require an admissions or a denial.

24

25

     ANSWER TO COMPLAINT 2:20-CV-01830 - 3                 LAW OFFICE OF DOUGLAS E. WILSON
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                                                                    Seattle WA 98115
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              Case 2:20-cv-01830-JCC Document 13 Filed 02/22/21 Page 4 of 5



1       24. Allegations are directed to Defendant, Whatcom County and not Defendant, Miller. To
2          the extent there are allegations against Defendant, Miller, Mr. Miller asserts his rights
3
           under the 5th Amendment to the United States Constitution.
4
        25. Paragraph 25 does not require an admissions or a denial.
5
        26. Defendant Miller asserts his rights under the 5th Amendment to the U.S. Constitution and
6
           neither admits nor denies.
7
        27. Paragraph 27 does not require an admissions or a denial.
8
        28. Defendant Miller asserts his rights under the 5th Amendment to the U.S. Constitution and
9

10
           neither admits nor denies.

11      29. Paragraph 29 does not require an admissions or a denial.

12      30. Defendant Miller asserts his rights under the 5th Amendment to the U.S. Constitution and

13         neither admits nor denies.

14      31. Paragraph 31 does not require an admissions or a denial.
15      32. Defendant Miller asserts his rights under the 5th Amendment to the U.S. Constitution and
16
           neither admits nor denies.
17
        33. Paragraph 33 does not require an admissions or a denial.
18
        34. Defendant Miller asserts his rights under the 5th Amendment to the U.S. Constitution and
19
           neither admits nor denies.
20
        35. Paragraph 35 does not require an admissions or a denial.
21
        36. Defendant Miller asserts his rights under the 5th Amendment to the U.S. Constitution and
22

23         neither admits nor denies.

24      37. Paragraph 37 does not require an admissions or a denial.

25

     ANSWER TO COMPLAINT 2:20-CV-01830 - 4                  LAW OFFICE OF DOUGLAS E. WILSON
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             Case 2:20-cv-01830-JCC Document 13 Filed 02/22/21 Page 5 of 5



1       38. Defendant Miller asserts his rights under the 5th Amendment to the U.S. Constitution and
2          neither admits nor denies.
3
                                         AFFIRMATIVE DEFENSES
4
           1. Failure to state a claim upon which relief can be granted
5
           2. Third-parties over who Defendant, Miller had no control are liable for the Plaintiff’s
6
               alleged damages.
7
           3. Failure to mitigate damages
8
           4. Defendant, Miller has qualified immunity for some of the allegations against him.
9

10
           Defendant, Miller reserves the right to amend this Answer following the resolution of

11         criminal charges against him. He further reserves the right to amend this Answer to

12         include additional affirmative Defenses.

13                                      RELIEF REQUESTED

14        Defendant, Miller respectfully request the action be dismissed with prejudice.
15
                   Dated February 19th, 2021.
16
                                                THE LAW OFFICE OF DOUGLAS E. WILSON
17
                                                __/s Douglas Wilson________________
18                                              Douglas E. Wilson, WSBA #21206
                                                Attorney for Defendant Adam Miller
19                                              P.O. Box 15631
                                                Seattle, WA 98115
20                                              206-338-7806
                                                Wilsondouglaw@msn.com
21

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25

     ANSWER TO COMPLAINT 2:20-CV-01830 - 5                 LAW OFFICE OF DOUGLAS E. WILSON
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